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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        COURTNEY MCMILLIAN, et al.,
                                   7                                                        Case No. 23-cv-03461-TLT (SK)
                                                       Plaintiffs,
                                   8
                                                v.                                          NOTICE OF VIDEO SCHEDULING
                                   9                                                        CONFERENCE FOR SETTLEMENT
                                        ELON MUSK, et al.,                                  CONFERENCE
                                  10
                                                       Defendants.
                                  11

                                  12   TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          You are hereby notified that the Court will hold a Scheduling Conference by video in

                                  14   preparation for the Settlement Conference on April 10, 2024 at 9:00AM. Counsel shall use the

                                  15   following Zoom information to access the conference:

                                  16          Meeting ID: 161 399 7742

                                  17          Passcode: 530648

                                  18          At the scheduling conference, counsel must be prepared to discuss and set a date for

                                  19   settlement conference and must provide firm dates which they and their clients can attend.

                                  20   Counsel should communicate with their clients about availability before the video conference or

                                  21   have their clients participate in the conference to confirm a settlement date.

                                  22          IT IS SO ORDERED.

                                  23   Dated: 3/19/2024

                                  24

                                  25                                                                 ________________________
                                                                                                     SALLIE KIM
                                  26                                                                 United States Magistrate Judge
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